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                                    UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                      Case No.: 13−17148−KCF
                                      Chapter: 7
                                      Judge: Kathryn C. Ferguson

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Adam K. Gonzalez
   400 Chamberlain St.
   South River, NJ 08757
Social Security No.:
   xxx−xx−6489
Employer's Tax I.D. No.:


                                                    FINAL DECREE



       The estate of the above named debtor(s) has been fully administered.

       If this case is a Chapter 11 or 13, the deposit required by the plan will be distributed, and it is

       ORDERED that Peggy E. Stalford is discharged as trustee of the estate of the above named debtor(s) and the
bond is canceled; and the case of the above named debtor(s) is closed.


Dated: July 26, 2013                        Kathryn C. Ferguson
                                            Judge, United States Bankruptcy Court
